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            IN THE UNITED STATES DISTRICT COURT FOR THE
                   NORTHERN DISTRICT OF FLORIDA
                       PANAMA CITY DIVISION

UNITED STATES OF AMERICA
                                              Case No. 5:20-cr-28-MW/MJF
v.

MARGO DEAL ANDERSON, et al.,

          Defendants.
________________________________/

                         DEFENDANT ANDERSON’S
                        MOTION TO DISMISS COUNTS

      Defendant, Margo Deal Anderson, moves to dismiss Counts 2 through 7, 9

through 14, 15, 17, 21 and 25 in the Second Superseding Indictment pursuant to

Federal Rule of Criminal Procedure 12, and says:

I.    WORLDCLAIM

Honest Services Wire Fraud

      The wire transmission charged for Count 21 did not further the charged

scheme to defraud.

      A wire transmission in furtherance of the charged scheme to defraud is an

essential element of honest services wire fraud.        A wire transmission is “in

furtherance of” a scheme if the wire transmission is “incident to an essential part of

the scheme” or a “step in the plot.” United States v. Adkinson, 158 F.3d 1147, 1163

(11th Cir. 1998) (quoting Schmuck v. United States, 489 U.S. 705 (1989)); see also



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United States v. Jones, 676 F. Supp. 2d 500, 515-16 (W.D. Tex. 2009) (explaining

that it is use of the mail to execute the scheme, not the scheme itself, that is the

offense, and dismissing mail fraud count based on innocent mailing of insurance

claim).

         The Second Superseding Indictment charges Anderson with agreeing to

accept a thing of value from WorldClaim in exchange for “permitting” WorldClaim

to have City business. As pled, the alleged implied agreement was pro bono

WorldClaim services in exchange for a City contract. ECF No. 214 – Second

Superseding Indictment ⁋⁋ 62-63, 89, 141.          Notably, the Second Superseding

Indictment does not charge Anderson with an offense for accepting anything of

value.

         The apparent fruits of the charged scheme were WorldClaim’s securing City

business and, potentially, WorldClaim’s receiving payment from the City. See

Adkinson, 158 F.3d at 1163 (“A mailing [wire transmission] furthers a scheme when

‘the mails are used prior to, and as one step toward, the receipt of the fruits of the

fraud.’ ” (internal citation omitted)).    The wire transmission associated with

Anderson’s receipt of legitimate insurance proceeds for hurricane damage sustained

to her property was not in furtherance of the charged scheme. It was neither

incidental to an essential part of the charged scheme, nor a step in the plot of the

charged scheme.



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       Therefore, Count 21 fails to state an offense and should be dismissed.

II.    EROSION CONTROL SERVICES (“ECS”)

False Statements

       The false statements charged for Count 25 are not disproven by Anderson’s

alleged knowledge. 1

       A statement only violates § 1001(a)(2) if it is literally false. See United States

v. Blankenship, 382 F.3d 1110, 1132 (11th Cir. 2004) (“For a conviction to be

sustained under § 1001(a)(3), it is imperative that the ‘writing or document’ be

‘false.’”); see also United States v. Tantchev, 916 F.3d 645, 651 (7th Cir. 2019) (“A

statement that is literally true cannot support a conviction under § 1001(a)(2)[.]”).

       In United States v. Craigue, the indictment charged a violation of § 1001(a)(2)

as follows:

       [Defendant stated] that McKenna and Erickson were not employees of
       the defendant or his business, specifically, when the Officer asked him
       whether McKenna and Erickson were employees of his company, the
       defendant stated, “I’ve always treated them—they would come and go
       as they please, so I would always treat them as not employees,” when,
       in truth and in fact, as the defendant then and there knew, McKenna and
       Erickson were employees and not subcontractors.

United States v. Craigue, 539 F. Supp. 3d 245, 248 (D.N.H. 2021). The court

assumed true that the individuals were employees, determined that this truth did not



1
        Anderson denies the knowledge attributed to her in Count 25 but recognizes
this is not the time to dispute the allegations.

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“necessarily disprove” the truth of the charged statement that defendant treated the

individuals as “not employees,” and dismissed the false statement charge. Id. at 248-

49 (collecting circuit court decisions upholding “dismissal of indictments charging

false statement offenses where the government alleges a falsity which fails to ‘track’

the statement alleged to be false”).

      If the statement in paragraph 145(b) 2 is accepted as true for purpose of the

motion, it does not necessarily disprove the truth of the statement in paragraph

144(b) 3. ECF No. 214 – Second Superseding Indictment ⁋⁋ 144, 145. The truth of

these statements are not mutually exclusive. Anderson could have “interacted with

David ‘Mickey’ White through [middleman] City Manager Michael White shortly

after Hurricane Michael” but not have been “introduced to David ‘Mickey’ White

until December 2018 or January 2019.”




2
      “ANDERSON interacted with David ‘Mickey’ White through City Manager
Michael White shortly after Hurricane Michael and requested David ‘Mickey’ White
to have ECS clean up her private residence.”
3
      “ANDERSON was first introduced to David ‘Mickey’ White in December
2018 or January 2019, when volunteers were used to clean up various streets
designated by Lynn Haven as needing some attention and clean-up.”


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      The same can be said that the truth of the statement in paragraph 145(a) 4 does

not necessarily disprove the truth of the statement in paragraph 144(a) 5. ECF No.

214 – Second Superseding Indictment ⁋⁋ 144, 145. Anderson could have known

that “ECS had been contracted by Lynn Haven to conduct debris removal and

repairs” but been “unaware of the role of [ECS] in the post-Hurricane Michael clean-

up of Lynn Haven.” Anderson is not alleged to have stated that she was unaware of

ECS’s contract; she is only alleged to have stated that she was unaware of ECS’s

“role” in a substantial post-hurricane cleanup operation. The fact that the City had

a contract with ECS does not necessarily mean that ECS was performing the

contracted-for work or that Anderson was aware of the work being performed by

ECS. Further, the concept of ECS’s “role” in a cleanup operation consisting of City

staff and local and out-of-state contractors is not synonymous with a discrete task or

scope of work ECS may have performed or been contracted to perform.

      Therefore, Count 25 fails to state an offense and should be dismissed.




4
     “ANDERSON was aware that ECS had been contracted by Lynn Haven to
conduct debris removal and repairs in the City of Lynn Haven after Hurricane
Michael.”
5
       “ANDERSON was unaware of the role of Erosion Control Specialists (ECS)
in the post-Hurricane Michael clean-up of Lynn Haven . . . .”

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Federal Funds Theft

      Count 17 tracks the language of § 666(a)(1)(A) and charges all potential

theories in the conjunctive but fails to allege essential facts of Anderson’s knowing

participation in a scheme to defraud.

       The Eleventh Circuit interpreted all theories (e.g., embezzle, steal, and so

forth) under § 666(a)(1)(A) as resting on a scheme to defraud and vacated a

conviction based on an indictment’s lacking essential facts of the charged scheme to

defraud. See United States v. Schmitz, 634 F.3d 1247, 1261-65 (11th Cir. 2011)

(analyzing sufficiency of pleading a § 666(a)(1)(A) under conjunctive theories to

“embezzle, steal, obtain by fraud and without authority convert to her [defendant’s]

own use, and intentionally misapply” as a scheme to defraud and vacating conviction

because indictment failed to contain essential facts of the scheme to defraud).

      The Second Superseding Indictment differs from the Schmitz indictment 6 in

that it alleges essential facts of a scheme to defraud but is akin to the Schmitz

indictment in that it fails to allege essential facts that Anderson knowingly joined

and participated in a scheme that encompassed the alleged cleanup of her property.

See United States v. Pirro, 212 F.3d 86, 93 (2d Cir. 2000) (“[T]he indictment must

state some fact specific enough to describe a particular criminal act, rather than a



6
      The indictment challenged in Schmitz was attached to Anderson’s motion to
dismiss the original indictment. ECF No. 49-1 – Anderson Motion to Dismiss.

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type of crime.”). For example, the factual bases for Anderson’s alleged knowledge

and participation are not apparent. They may be tied to countersigning checks,

signing off on check registers, or something different. As pled, however, Count 17

lacks essential facts of the alleged scheme to defraud that is specific to the charge in

Count 17.

        Therefore, Count 17 lacks specificity and should be dismissed.

III.    JAMES FINCH BUSINESS INTERESTS

Finch–Anderson–Barnes Conspiracy

        Count 1 is duplicitous because it improperly joins two conspiracies in the

same count.

        A cornerstone of a single, unified conspiracy is interdependence amongst co-

conspirators. United States v. Toler, 144 F.3d 1423, 1426 (11th Cir. 1998); see also

United States v. Perez, 489 F.2d 51, 57 (5th Cir. 1973) (“The necessity for drawing

this distinction [between single or multiple conspiracies] derives from our interest,

clearly our duty, in jealously protecting those accused from the possible transference

of guilt to others accused.”). The fact that conspiracies share the “same goal” does

not mean they share a “common goal.” United States v. Chandler, 376 F.3d 1303,

1320 (11th Cir. 2004).

        Count 1 charges Anderson with participating in a “Finch business interest”

conspiracy with James Finch and Antonius Barnes in violation of § 1349. As pled



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and after the Government’s election, the charged conspiratorial agreements

encompasses (i) an alleged agreement between Finch and Barnes to influence

Barnes’ performance of official acts and (ii) an alleged agreement between Finch

and Anderson to influence Anderson’s performance of official acts. ECF No. 214 –

Second Superseding Indictment ⁋ 124. However, no allegations suggest the separate

alleged agreements shared a common goal greater than themselves.

      There is no allegation that Anderson knew of the alleged Finch-Barnes

agreement. There is no allegation that the alleged Finch–Barnes agreement was

dependent on, facilitated by, or furthered by Anderson.       The alleged goal of

influencing Barnes’ performance of official acts “was an end upon itself.” Chandler,

376 F.3d at 1321. The same can be said of Barnes regarding the alleged Finch-

Anderson. These alleged agreements are independent and, if anything, constitute

independent, disconnected alleged conspiracies.

      Therefore, Count 1 is duplicitous and should be dismissed or, alternatively,

the Government should be compelled to elect and pursue a single alleged conspiracy.

Honest Services Wire Fraud

      Counts 2 through 7 and 9 through 14 fail to identify the quid pro quo

exchange(s) required for a violation of §§ 1343 and 1346.

      This is, in part but not entirely, a renewal of Anderson’s argument made to

the Superseding Indictment. ECF No. 138 – Anderson Motion to Dismiss. In



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McDonnell v. United States, the Supreme Court determined that honest services

fraud required a quid pro quo exchange. McDonnell v. United States, 136 S. Ct.

2355, 2371 (2016). Although the parties agreed to apply the § 201(b) definition of

bribery in McDonnell, Anderson has located no circuit court decision that held a

non-quid pro quo exchange sufficed for honest services fraud. In United States v.

Silver, the Second Circuit interpreted McDonnell to hold that the quo component

required an official to identify, at the time of the quid pro quo exchange, a focused

and concrete matter on which the official agreed to perform an official act. United

States v. Silver, 948 F.3d 538, 553, 556-57 (2d Cir. 2020). In other words, §§ 1343

and 1346 do not criminalize a donor providing, or an official accepting, things of

value with the open-ended intent to perform an official act on an undefined matter

at some indefinite time in the future.

      First, the same “Finch business interest” quo is alleged as the matter for all

counts. However, a Finch business interest is not a focused and concrete “question,

matter, cause, suit, proceeding or controversy” on which Anderson could agree or

promise to perform an official act. The Finch business interest matter could never

come before the City for a decision. Instead, it’s more akin to a policy goal like

“Virginia business and economic development” that the McDonnell Court stated

could not suffice as the requisite quo. Although an official act quo is generally a

question of fact, this was one of the few matters that the Supreme Court determined



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could not constitute an official act quo as a matter of law. McDonnell, 136 S. Ct. at

2369. This alone is a basis to dismiss the counts for failure to state an offense.

      Next, within the collective of Finch business interests, there are alleged

matters that could potentially qualify as the requisite quo. Namely, the 17th Street

ditch project, the Half-Cent Surtax project, and, to a lesser degree, City business for

hurricane recovery. However, because these more focused and concrete matters

span many years and were not all foreseeable at the outset of charged offenses, they

cannot conceivably all be part of the same quid pro quo exchange. A single quid pro

quo exchange may consist of multiple quids and quos (e.g., “this for these” or “these

for these”), but all the quos encompassed by the exchange must be focused and

concrete matters at that time. For example, the initial alleged quid pro quo exchange

had to exist no later than the October 2017 wire transmission for Count 4 (and likely

earlier) and could not have included hurricane recovery matters that did not arise

until a year later from an October 2018 hurricane. Thus, imbedded in the Second

Superseding Indictment are more than one alleged quid pro quo exchange, but these

different exchanges, which are the heart of the offenses for honest services fraud,

have not been alleged with sufficient specificity and cannot be ascertained from the

Second Superseding Indictment.




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      Therefore, Counts 2 through 7 and 9 through 14 fail to state an offense (no

focused and concrete matter), lack specificity (unidentifiable or commingled quid

pro quo exchanges), and should be dismissed.

Federal Program Fraud

      Count 15 fails to identify the City “business, transaction, or series of

transactions” required for a violation of § 666(a)(1)(B).

      There appears to be a circuit split concerning § 666(a)(1)(B)’s required nexus

between an agent’s prohibited receipt of a thing of value and the agent’s intent to be

influenced or rewarded in connection with the principal’s business, transaction, or

series of transactions. The most recent decisions read the statute to require a quid

pro quo exchange of any act, including non-official acts. See United States v.

Hamilton, -- F.4th --, 2022 WL 3593974, at *3-8 (5th Cir. Aug. 23, 2022); United

States v. Lindberg, 39 F.4th 151, 165-77 (4th Cir. 2022). This is consistent with the

Supreme Court having described § 666(a)(1)(B) with the same “in exchange for”

language attributed to quid pro quo exchanges. Salinas v. United States, 522 U.S.

52, 57-58 (1997) (describing § 666(a)(1)(B) in dicta as prohibiting “transfers of

personal property or other valuable consideration in exchange for the influence of

reward” (emphasis added)). But admittedly, multiple circuits appear to have found

the contrary.




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      The Eleventh Circuit has used the phraseology that § 666(a)(1)(B) does not

require a quid pro quo exchange. In a prior filing, Anderson took that at face value.

However, a closer reading reveals that the court had defined the term “quid pro quo”

to include an official act, and the legal argument and decision turned on whether §

666(a)(1)(B) was limited to official acts. United States v. McNair, 605 F.3d 1152,

1184-95 (11th Cir. 2010) (defining term “quid pro quo” to be an official act quid pro

quo and clarifying broad use of the defined quid pro quo term by “expressly

hold[ing] there is no requirement in § 666(a)(1)(B) or (a)(2) that the government

allege or prove an intent that a specific payment was solicited, received, or given in

exchange for a specific official act, termed a quid pro quo” and finding that “the

government is not required to tie or directly link a benefit or payment to a specific

official act” (emphasis added)). Whether section 666(a)(1)(2) requires at least a non-

official act quid pro quo appears to still be an open question and not addressed by

subsequent Eleventh Circuit decisions citing McNair. The analysis in Hamilton and

Lindberg and the “in exchange for” reference by the Supreme Court in Salinas

should be persuasive.

      For purposes of this motion, however, the distinction should not matter. The

Supreme Court previously indicated that the official act(s) tied to a particular bribe

or unlawful gratuity need be identified and proved. Because again, receipt of a thing

of value without a nexus to an official act does not violate § 201. United States v.



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Sun-Diamond Growers of Cal., 526 U.S. 398, 406-09 (1999) (“The [§ 201’s]

insistence upon an ‘official act,’ carefully defined, seems pregnant with the

requirement that some particular official act be identified and proved . . . . When,

however, no particular ‘official act’ need be identified, and the giving of gifts by

reason of the recipient’s mere tenure in office constitutes a violation, nothing but the

Government’s discretion prevents the foregoing examples [not violations of § 201]

from being prosecuted.”).

       Notwithstanding the nexus required by § 666(a)(1)(B), the official’s intended-

to-be influenced or rewarded act should be identified and pled. Count 15 includes

factual allegations that implicate potential City business items or transactions from

four different categories that may or may not be a basis for Count 15. ECF No. 214

- Second Superseding Indictment at ⁋ 49 (alleging acts associated with Half-Cent

Sales Tax project); ⁋⁋ 70, 72, 73, 75, 79 (alleging acts associated with hurricane

debris disposal); ⁋ 74 (alleging acts associated with 17th Street Ditch project); ⁋ 82

(alleging acts associated with approval of a plat for a Finch-owned development

company). 7 Count 15 identifies the alleged thing of value receive by Anderson but

fails to allege a link to an identifiable act (i.e., the business, transaction, or series of

transaction).




7
       These acts are limited to the one-year time period specified for Count 15.

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      Therefore, Count 15 fails to state an offense, lacks specificity, and should be

dismissed.

      Wherefore, Defendant, Margo Deal Anderson, requests that the Court:

      A.      Dismiss Count 1 or, alternative, compel an election of a single

conspiracy;

      B.      Dismiss Counts 2 through 7, 9 through 15, 17, 21, and 25; and

      C.      Such further relief as the Court deems just and proper.

                                        Dated this 12th day of September 2022.

                                        /s/ Anthony L. Bajoczky, Jr.
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                           CERTIFICATE OF SERVICE

      I certify that a true and correct copy of the foregoing document has been
served electronically via the CM/ECF System on this 12th day of September 2022.

                                        /s/ Anthony L. Bajoczky, Jr.



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